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Matthew S. Warren (State Bar No. 230565)
Sachli Balazadeh-Nayeri (State Bar No. 341885)
22-5246@cases.warrenlex.com
WARREN LEX LLP
2261 Market Street, No. 606
San Francisco, California, 94114
+1 (415) 895-2940
+1 (415) 895-2964 facsimile
Attorneys for Defendant Google LLC


                                 UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                        OAKLAND DIVISION



LARRY GOLDEN,                             )          Case No. 4:22-cv-05246-HSG
                                          )
      Plaintiff,                          )          NOTICE OF ATTORNEY APPEARANCE OF
                                          )          SACHLI BALAZADEH-NAYERI
v.                                        )
                                          )           Judge:      Hon. Haywood S. Gilliam, Jr.
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )


       Defendant Google LLC hereby notifies the Court and the parties to this action that Sachli
Balazadeh-Nayeri of Warren Lex LLP, an attorney admitted to practice before this Court, appears as

counsel for defendant Google LLC in this matter. Please serve all pleadings, correspondence, and other
materials on Ms. Balazadeh-Nayeri at the above address.
Date: October 26, 2022                           Respectfully submitted,
                                                 _______________________________________
                                                 Sachli Balazadeh-Nayeri (State Bar No. 341885)
                                                 WARREN LEX LLP
                                                 2261 Market Street, No. 606
                                                 San Francisco, California, 94114
                                                 +1 (415) 895-2940
                                                 +1 (415) 895-2964 facsimile
                                                 22-5246@cases.warrenlex.com

                                                 Attorney for Defendant Google LLC

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